          Exhibit 12




Case 1:14-cv-00954-LCB-JLW Document 163-12 Filed 01/18/19 Page 1 of 7
Case 1:14-cv-00954-LCB-JLW Document 163-12 Filed 01/18/19 Page 2 of 7
Case 1:14-cv-00954-LCB-JLW Document 163-12 Filed 01/18/19 Page 3 of 7
Case 1:14-cv-00954-LCB-JLW Document 163-12 Filed 01/18/19 Page 4 of 7
Case 1:14-cv-00954-LCB-JLW Document 163-12 Filed 01/18/19 Page 5 of 7
Case 1:14-cv-00954-LCB-JLW Document 163-12 Filed 01/18/19 Page 6 of 7
Case 1:14-cv-00954-LCB-JLW Document 163-12 Filed 01/18/19 Page 7 of 7
